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FILED

Abb 15 2023

UNITED STATES DISTRICT COURT JUDGE MATTHEWE KENNELLY
NORTHERN DISTRICT OF ILLINOIS UNITED STATES DISTRICT COURT

HASTERN DIVISION
UNITED STATES OF AMERICA
No. 22 CR 626
v.
Judge Matthew F. Kennelly
AYANNA NESBITT

PLEA AGREEMENT

1. This Plea Agreement between the Acting United States Attorney for the
Northern District of Illinois, MORRIS PASQUAL, and defendant AYANNA
NESBITT, and her attorney, JORDAN GREENBERG, is made pursuant to Rule 11
of the Federal Rules of Criminal Procedure and is governed in part by Rule
11(c)(1)(A), as more fully set forth below. The parties to this Agreement have agreed
upon the following:

Charges in This Case

2. The indictment in this case charges defendant with wire fraud, in
violation of Title 18, United States Code, Section 1843 (Counts 1-5).

3. Defendant has read the charges against her contained in the indictment,
and those charges have been fully explained to her by her attorney.

4. Defendant fully understands the nature and elements of the crimes with

which she has been charged.

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Charge to Which Defendant Is Pleading Guilty

5. By this Plea Agreement, defendant agrees to enter a voluntary plea of
guilty to the following count of the indictment: Count One, which charges defendant
with wire fraud, in violation of Title 18, United States Code, Section 1343.

Factual Basis

6. Defendant will plead guilty because she is in fact guilty of the charge
contained in Count One of the indictment. In pleading guilty, defendant admits the
following facts and that those facts establish her guilt beyond a reasonable doubt
pursuant to Guideline § 1B1.3:

Between March 2019 and September 2021, in the Northern District of Illinois,
Eastern Division, defendant knowingly devised, intended to devise, and participated
in a scheme to defraud, and to obtain money and property from the Retirement Plan
for Chicago Transit Authority Employees (the “Plan”) by means of materially false
and fraudulent pretenses, representations, and promises. On April 2, 2019, for the
purpose of executing the scheme, defendant knowingly caused to be transmitted by
means of wire communication in interstate commerce certain writings, signs, and
signals, namely a transmission of payment and settlement instructions related to the
transfer of $8,000, from a Plan bank account to an account held in the name of

Individual AS maintained at Bank of America, in violation of Title 18, United States

Code, Section 1348.

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Specifically, at times material to defendant’s offense conduct, the Plan was an
independent government entity which oversaw pension and other benefits for retirees
of the Chicago Transit Authority (“CTA”). The Plan was funded, in part, with money
received from the CTA and its employees.

The Plan paid death benefits in the form of lump payments to the designated
beneficiaries of deceased CTA retirees who had received pension or disability benefits.
Employees who ceased working for the CTA prior to retirement could request that
the Plan return the funds the employees had contributed towards their pensions.
Upon the death of CTA retirees receiving pension payments, any final pension
payment owed to such retirees would be paid to the retirees’ designated beneficiaries.

Defendant was a CTA employee who worked as a retirement clerk at the Plan.
Defendant’s responsibilities included accessing the Plan’s financial management
systems to update retiree and beneficiary information and initiating requests to
transfer Plan funds to: (i) designated death benefit beneficiaries; (ii) former CTA
employees who had requested the return of their pension contributions; and
(iii) beneficiaries of deceased pension payment recipients.

Between March 2019 and September 2021, defendant knowingly created and
obtained approval for approximately 43 fraudulent requests for the Plan to: (a) make
death benefit payments to purported beneficiaries of deceased CTA retirees and
eligible employees; (b) refund pension contributions to purported former CTA

employees; and (c) send payments to purported beneficiaries of deceased pension
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payment recipients, knowing that all of such requests contained false representations
regarding the purported beneficiaries’ identities and entitlement to payments.
Regarding each of defendant’s fraudulent payment requests, defendant caused such
payments to be transferred by means of interstate wire communication from a Plan
bank account to financial accounts she controlled, or which were controlled by
members of defendant’s family and others. Defendant permitted such recipients to
keep a portion of the funds and directed that the remainder be provided to her.

In September 2021, when the Plan questioned defendant about some of the
fraudulent transactions, defendant created and provided the Plan with falsified
records to conceal her scheme.

Defendant's fraudulent conduct caused the Plan an actual loss of
approximately $356,934, including approximately $351,439 paid to defendant and
those who received funds on defendant’s behalf. After the Plan’s discovery of her
fraudulent conduct, defendant entered into a repayment agreement with the Plan
pursuant to which she paid $115,059.90 to the Plan by obtaining a refund of her Plan

pension contributions and interest.

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Maximum Statutory Penalties

7. Defendant understands that the charge to which she is pleading guilty
carries the following statutory penalties:

a. A maximum sentence of 20 years’ imprisonment. This offense also
carries a maximum fine of $250,000, or twice the gross gain or gross loss resulting
from that offense, whichever is greater. Defendant further understands that the
judge also may impose a term of supervised release of not more than three years.

b. Defendant further understands that the Court must order
restitution to the victims of the offense in an amount determined by the Court.

Cc. Pursuant to Title 18, United States Code, Section 3013, defendant
will be assessed $100 on the charge to which she has pled guilty, in addition to any
other penalty or restitution imposed.

Sentencing Guidelines Calculations

8. Defendant understands that in determining a sentence, the Court is
obligated to calculate the applicable Sentencing Guidelines range, and to consider
that range, possible departures under the Sentencing Guidelines, and other
sentencing factors under 18 U.S.C. § 3553(a), which include: @) the nature and
circumstances of the offense and the history and characteristics of the defendant;
(ii) the need for the sentence imposed to reflect the seriousness of the offense, promote
respect for the law, and provide just punishment for the offense, afford adequate

deterrence to criminal conduct, protect the public from further crimes of the

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defendant, and provide the defendant with needed educational or vocational training,
medical care, or other correctional treatment in the most effective manner; (iii) the
kinds of sentences available; (iv) the need to avoid unwarranted sentence disparities
among defendants with similar records who have been found guilty of similar
conduct; and (v) the need to provide restitution to any victim of the offense.

9, For purposes of calculating the Sentencing Guidelines, the parties agree
on the following points:

a. Applicable Guidelines. The Sentencing Guidelines to be
considered in this case are those in effect at the time of the offense. The following
statements regarding the calculation of the Sentencing Guidelines are based on the
2021 Guidelines Manual.

b. Offense Level Calculations.

i. The base offense level is 7, pursuant to Guideline
§ 2B1.1(a)(1).
il. The offense level is increased by 12 levels, pursuant to
Guideline § 2B1.1(b)(1)(G), because the loss attributable to the offense conduct was
more than $250,000.
ili. Defendant has clearly demonstrated a recognition and
affirmative acceptance of personal responsibility for her criminal conduct. If the
government does not receive additional evidence in conflict with this provision, and

if defendant continues to accept responsibility for her actions within the meaning of

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Guideline § 3E1.1(a), including by furnishing the United States Attorney’s Office and
the Probation Office with all requested financial information relevant to her ability
to satisfy any fine or restitution that may be imposed in this case, a two-level
reduction in the offense level is appropriate.

lv. In accord with Guideline § 3E1.1(b), defendant has timely
notified the government of her intention to enter a plea of guilty, thereby permitting
the government to avoid preparing for trial and permitting the Court to allocate its
resources efficiently. Therefore, as provided by Guideline § 3E1.1(b), if the Court
determines the offense level to be 16 or greater prior to determining that defendant
is entitled to a two-level reduction for acceptance of responsibility, the government
will move for an additional one-level reduction in the offense level.

C. Criminal History Category. With regard to determining
defendant’s criminal history points and criminal history category, based on the facts
now known to the government, defendant’s criminal history points equal zero and
defendant’s criminal history category is I.

d. Anticipated Advisory Sentencing Guidelines Range.
Therefore, based on the facts now known to the government, the anticipated offense
level is 16, which, when combined with the anticipated criminal history category of I,
results in an anticipated advisory sentencing guidelines range of 21 to 27 months’

imprisonment, in addition to any supervised release, fine, and restitution the Court

may impose.

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e. Defendant and her attorney and the government acknowledge
that the above guidelines calculations are preliminary in nature and are non-binding
predictions upon which neither party is entitled to rely. Defendant understands that
further review of the facts or applicable legal principles may lead the government to
conclude that different or additional guidelines provisions apply in this case.
Defendant understands that the Probation Office will conduct its own investigation
and that the Court ultimately determines the facts and law relevant to sentencing,
and that the Court’s determinations govern the final guideline calculation.
Accordingly, the validity of this Agreement is not contingent upon the probation
officer’s or the Court’s concurrence with the above calculations, and defendant shall
not have a right to withdraw her plea on the basis of the Court’s rejection of these
calculations.

10. Both parties expressly acknowledge that this Agreement is not governed
by Fed. R. Crim. P. 11(c)(1)(B), and that errors in applying or interpreting any of the
sentencing guidelines may be corrected by either party prior to sentencing. The
parties may correct these errors either by stipulation or by a statement to the
Probation Office or the Court, setting forth the disagreement regarding the applicable
provisions of the guidelines. The validity of this Agreement will not be affected by
such corrections, and defendant shall not have a right to withdraw her plea, nor the

government the right to vacate this Agreement, on the basis of such corrections.

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Agreements Relating to Sentencing

11. Each party is free to recommend whatever sentence it deems
appropriate.

12. It is understood by the parties that the sentencing judge is neither a
party to nor bound by this Agreement and may impose a sentence up to the maximum
penalties as set forth above. Defendant further acknowledges that if the Court does
not accept the sentencing recommendation of the parties, defendant will have no right
to withdraw her guilty plea.

18. Regarding restitution, defendant acknowledges that the total amount of
restitution owed to the Retirement Plan for Chicago Transit Authority Employees is
$356,934.15, minus any credit for funds repaid prior to sentencing, and that pursuant
to Title 18, United States Code, Section 3663A, the Court must order defendant to
make full restitution in the amount outstanding at the time of sentencing.

14. Restitution shall be due immediately and paid pursuant to a schedule to
be set by the Court at sentencing. Defendant acknowledges that pursuant to Title 18,
United States Code, Section 3664(k), she is required to notify the Court and the
United States Attorney’s Office of any material change in economic circumstances
that might affect her ability to pay restitution.

15. Defendant agrees to pay the special assessment of $100 at the time of

sentencing with a cashier’s check or money order payable to the Clerk of the U.S.

District Court.

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16. Defendant agrees that the United States may enforce collection of any
fine or restitution imposed in this case pursuant to Title 18, United States Code,

Sections 3572, 3613, and 3664(m), notwithstanding any payment schedule set by the

Court.

17. After sentence has been imposed on the count to which defendant pleads
guilty as agreed herein, the government will move to dismiss the remaining counts of
the indictment, as well as the forfeiture allegation as to defendant.

Acknowledgments and Waivers Regarding Plea of Guilty

Nature of Agreement

18. This Agreement is entirely voluntary and represents the entire
agreement between the United States Attorney and defendant regarding defendant’s
criminal liability in case 22CR626.

19. This Agreement concerns criminal liability only. Except as expressly set
forth in this Agreement, nothing herein shall constitute a limitation, waiver, or
release by the United States or any of its agencies of any administrative or judicial
civil claim, demand, or cause of action it may have against defendant or any other
person or entity. The obligations of this Agreement are limited to the United States
Attorney’s Office for the Northern District of Illinois and cannot bind any other
federal, state, or local prosecuting, administrative, or regulatory authorities, except

as expressly set forth in this Agreement.

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20. Defendant understands that nothing in this Agreement shall limit the
Internal Revenue Service in its collection of any taxes, interest or penalties from
defendant.

Waiver of Rights

21. Defendant understands that by pleading guilty she surrenders certain
rights, including the following:

a. Trial rights. Defendant has the right to persist in a plea of not
guilty to the charges against her, and if she does, she would have the right to a public
and speedy trial.

1. The trial could be either a jury trial or a trial by the judge
sitting without a jury. However, in order that the trial be conducted by the judge
sitting without a jury, defendant, the government, and the judge all must agree that
the trial be conducted by the judge without a jury.

il. If the trial is a jury trial, the jury would be composed of
twelve citizens from the district, selected at random. Defendant and her attorney
would participate in choosing the jury by requesting that the Court remove
prospective jurors for cause where actual bias or other disqualification is shown, or
by removing prospective jurors without cause by exercising peremptory challenges.

lil. If the trial is a jury trial, the jury would be instructed that
defendant is presumed innocent, that the government has the burden of proving

defendant guilty beyond a reasonable doubt, and that the jury could not convict her

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unless, after hearing all the evidence, it was persuaded of her guilt beyond a
reasonable doubt and that it was to consider each count of the indictment separately.
The jury would have to agree unanimously as to each count before it could return a
verdict of guilty or not guilty as to that count.

lv. If the trial is held by the judge without a jury, the judge
would find the facts and determine, after hearing all the evidence, and considering
each count separately, whether or not the judge was persuaded that the government
had established defendant’s guilt beyond a reasonable doubt.

Vv. At a trial, whether by a jury or a judge, the government
would be required to present its witnesses and other evidence against defendant.
Defendant would be able to confront those government witnesses and her attorney

would be able to cross-examine them.

vi. At a trial, defendant could present witnesses and other
evidence in her own behalf. If the witnesses for defendant would not appear
voluntarily, she could require their attendance through the subpoena power of the
Court. A defendant is not required to present any evidence.

vii. At a trial, defendant would have a privilege against self-
incrimination so that she could decline to testify, and no inference of guilt could be

drawn from her refusal to testify. If defendant desired to do so, she could testify in

her own behalf.

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b. Appellate rights. Defendant further understands she is waiving
all appellate issues that might have been available if she had exercised her right to
trial and may only appeal the validity of this plea of guilty and the sentence imposed.
Defendant understands that any appeal must be filed within 14 calendar days of the
entry of the judgment of conviction.

22. Defendant understands that by pleading guilty she is waiving all the
rights set forth in the prior paragraphs, with the exception of the appellate rights
specifically preserved above. Defendant’s attorney has explained those rights to her,

and the consequences of her waiver of those rights.

Presentence Investigation Report/Post-Sentence Supervision

23. Defendant understands that the United States Attorney’s Office in its
submission to the Probation Office as part of the Pre-Sentence Report and at
sentencing shall fully apprise the District Court and the Probation Office of the
nature, scope, and extent of defendant’s conduct regarding the charges against her,
and related matters. The government will make known all matters in aggravation
and mitigation relevant to sentencing.

24. Defendant agrees to truthfully and completely execute a Financial
Statement (with supporting documentation) prior to sentencing, to be provided to and
shared among the Court, the Probation Office, and the United States Attorney’s
Office regarding all details of her financial circumstances, including her recent

income tax returns as specified by the probation officer. Defendant understands that

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providing false or incomplete information, or refusing to provide this information,
may be used as a basis for denial of a reduction for acceptance of responsibility
pursuant to Guideline § 3E1.1 and enhancement of her sentence for obstruction of
justice under Guideline § 3C1.1, and may be prosecuted as a violation of Title 18,
United States Code, Section 1001 or as a contempt of the Court.

25. For the purpose of monitoring defendant's compliance with her
obligations to pay a fine and restitution during any term of supervised release or
probation to which defendant is sentenced, defendant further consents to the
disclosure by the IRS to the Probation Office and the United States Attorney’s Office
of defendant’s individual income tax returns (together with extensions,
correspondence, and other tax information) filed subsequent to defendant’s
sentencing, to and including the final year of any period of supervised release or
probation to which defendant is sentenced. Defendant also agrees that a certified copy
of this Agreement shall be sufficient evidence of defendant's request to the IRS to
disclose the returns and return information, as provided for in Title 26, United States

Code, Section 6103(b).

Other Terms

26. Defendant agrees to cooperate with the United States Attorney’s Office
in collecting any unpaid fine and restitution for which defendant is liable, including
providing financial statements and supporting records as requested by the United

States Attorney’s Office.

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27. Defendant will not object to a motion brought by the United States
Attorney’s Office for the entry of an order authorizing disclosure of documents,
testimony and related investigative materials which may constitute grand jury
material, preliminary to or in connection with any judicial proceeding, pursuant to
Fed. R. Crim. P. 6(e)(3)(E)G). In addition, defendant will not object to the
government’s solicitation of consent from third parties who provided records or other
materials to the grand jury pursuant to grand jury subpoenas, to turn those materials
over to the Civil Division of the United States Attorney’s Office, or an appropriate
federal or state agency (including but not limited to the Internal Revenue Service),
for use in civil or administrative proceedings or investigations, rather than returning
them to the third parties for later summons or subpoena in connection with a civil or
administrative proceeding involving, or investigation of, defendant. Nothing in this
paragraph or the preceding paragraph precludes defendant from asserting any legal
or factual defense to taxes, interest, and penalties that may be assessed by the IRS.

28. Defendant understands that pursuant to Title 29, United States Code,
Sections 504 and 1111, her conviction in this case will prohibit her from serving or
being permitted to serve in certain offices, positions, and capacities relating to labor
organizations, employee benefit plans, and other entities, as described in Title 29,
United States Code, Sections 504 and 1111, for the period of thirteen years after
conviction or after the end of any incarceration, whichever is later, unless the Court,

pursuant to the Sentencing Guidelines and policy statements under Title 28, United

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States Code, Section 994(a), determines that defendant’s direct or indirect service
with or to a labor organization or employee benefit plan would not be contrary to the
purposes of Title 29, United States Code, Sections 504 and 1111. Defendant further
understands that if she violates this prohibition, she may be punished by
imprisonment for up to five years and a fine of up to $250,000.

Conclusion

29. Defendant understands that this Agreement will be filed with the Court,
will become a matter of public record, and may be disclosed to any person.

30. Defendant understands that her compliance with each part of this
Agreement extends throughout the period of her sentence, and failure to abide by any
term of the Agreement is a violation of the Agreement. Defendant further
understands that in the event she violates this Agreement, the government, at its
option, may move to vacate the Agreement, rendering it null and void, and thereafter
prosecute defendant not subject to any of the limits set forth in this Agreement, or
may move to resentence defendant or require defendant’s specific performance of this
Agreement. Defendant understands and agrees that in the event that the Court
permits defendant to withdraw from this Agreement, or defendant breaches any of
its terms and the government elects to void the Agreement and prosecute defendant,
any prosecutions that are not time-barred by the applicable statute of limitations on
the date of the signing of this Agreement may be commenced against defendant in

accordance with this paragraph, notwithstanding the expiration of the statute of

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limitations between the signing of this Agreement and the commencement of such
prosecutions.

31. Should the judge refuse to accept defendant’s plea of guilty, this
Agreement shall become null and void and neither party will be bound to it.

32. Defendant and her attorney acknowledge that no threats, promises, or
representations have been made, nor agreements reached, other than those set forth
in this Agreement, to cause defendant to plead guilty.

33. Defendant acknowledges that she has read this Agreement and carefully
reviewed each provision with her attorney. Defendant further acknowledges that she

understands and voluntarily accepts each and every term and condition of this

Agreement.

AGREED THIS DATE: AVGusTr _/5, 2025

'- Digitall signed by JASON

JASON YONAN vows ‘

Date: 2023.08.03 15:49:53 -05'00" bh

po
JASON YONAN, on behalf of A Ne NESBITT
MORRIS PASQUAL Defend
Acting United States Attorney
Ce K Mee ae
CHRISTOPHER K. VEATCH orney for PoEENBER

Assistant U.S. Attorney

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